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CONSTRUCTION
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gpc@goproconstruction.us
Tel: 240-418-2636 License MHIC#130209 / DCRA#420214000155/VA# Fax: 240-668-9906

The State Joint-Stock Company November 20, 2021
2304 Massachusetts Ave. N.W
Washington, DC 20008

Ref.: Embassy of Latvia renovation -2304 Mass. Ave.

Chairman of “The State Joint-Stock Company” Email: vni@vni.lv
Attn.: Mr. Marcis Grivins Project Coordinator Email: Marcis.Grivins@vni.lv

Work Progress Report #04

KEE

1. The video meeting held on Tuesday, November 16, 2021 was an unauthorized record by the
Latvian Team, please delete and erase all recorded videos pertaining to this meeting.

2. Per our Contract, the Owner authorized person is Mr. Rihards Nikiforovs, and his email
address was the official email for correspondences, please update the name and email
address of the official officer who will be representing the Owners.

3. Once the confirmation of the official officer is received through the DocuSign, we will then
prepare for additional accesses to the BuilderTREND System per your request.

4. As per Mr. Marcis Grivins and Mr. Viktor Zarskis the floor level of all three stories will
continue to have a slight slope which means by following the plans and specs will lead to
an unlevel finished floor, please confirm.

5. Additionally, once we receive confirmation of the new officer we will send - through
DocuSign- the Waiver of Liability form in reference to denying the reinforcement and
stabilization of the foundation as it was recommended by our Structural Engineer report
submitted to the Owner on October 18, 2021.

6. The Embassy’s belongings that were stored in the basement was authorized by the Embassy
Officer Mr. Krists Bruders to be removed on November 17, 2021. Contractor will dispose
of all items remaining in order to complete demolition in the basement.

7. Basement kitchen is to be updated as stated in the contract. An RFI was submitted to the
Owner to clarify the type of updates that are required, please clarify.

8. Joists sistering and framing work is ongoing and expected to be completed on November
30, 2021. No concealment will take place at this time per your request.

9. Framing and subfloor will cover joist from top, floor will be exposed from underneath for
inspections until framing is complete.

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The second invoice (Framing and Interior Structure Repair Work Starts) will be submitted by mid
next week for processing and payment.

MEPs (Mechanical, Electrical, and Plumbing) trades are lined up to start once the framing is
completed. The estimated start date is December 5, 2021, with 45 working days.

Go Pro Construction is aiming to finalize and complete the project on the scheduled project
time frame.

As per the Owner representative request, we suggest a second milestone site visit to be held
in Mid January 2022 to inspect MEPs before concealment.

An updated work time schedule will be submitted to the Owner for reference by December
5, 2021. 2

Project pictures are uploaded periodically through the BuilderTREND, if any additional
clarification or photos are required please don’t hesitate to request.

Thank you and best regards,

Priscilla A. Winters
Client Relations/Project Manager
301-605-4542

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